Case 1:25-cv-00197-TBM-RPM Document2 _ Filed 06/20/25 Page1of4

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of Mississippi

Matthew C. Mavar and Julie D. Mavar

Plaintiff(s)

Vv

Mississippi Green Oil, LLC d/b/a BE Simply
Marvelous, LLC, Thomas J. Moore, Ill, Charles T.
Hill, Nicholas Quave and John Does 1-5

Civil Action No. = 1:25cv197 TBM-RPM

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Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Bie au ad

D'Iberville, MS 39540

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Thomas L. Carpenter, Wise Carter Child & Caraway, P.A.
2510 14th Street, Suite 1125
Gulfport, MS 39501

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ARTHUR JOHNSTON
CLERK OF COURT

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Date: 06/20/2025 (As ORI

\l Signature of Clerk or Deputy Clerk

Case 1:25-cv-00197-TBM-RPM Document2 _ Filed 06/20/25 Page 2of4

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AO 440 (Rev. 06/12) Summons ina Civil Action

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UNITED STATES DISTRICT COURT

for the
Southern District of Mississippi

Matthew C. Mavar and Julie D. Mavar

Plaintiff(s)

v

Mississippi Green Oil, LLC d/b/a BE Simply
Marvelous, LLC, Thomas J. Moore, Ill, Charles T.
Hill, Nicholas Quave and John Does 1-5

Civil Action No. 1:25cv197 TBM-RPM

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Defendant(s)

SUMMONS IN A CIVIL ACTION

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To: (Defendant's name and address) eee. eT an

D'Iberville, MS 39540

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are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Thomas L. Carpenter, Wise Carter Child & Caraway, P.A.
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Gulfport, MS 39501

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ARTHUR JOHNSTON
CLERK OF COURT

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: \] Signature of Clerk or Deputy Clerk

Case 1:25-cv-00197-TBM-RPM Document2_ Filed 06/20/25 Page 3of4

AO 440 (Rev, 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT
for the

Southern District of Mississippi

Matthew C. Mavar and Julie D. Mavar

Plaintiff(s)
Vv

Mississippi Green Oil, LLC d/b/a BE Simply
Marvelous, LLC, Thomas J. Moore, Ill, Charles T.
Hill, Nicholas Quave and John Does 1-5

Civil Action No. = 1:25cv197 TBM-RPM

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Defendant(s)

SUMMONS IN A CIVIL ACTION

Mississippi Green Oil, LLC d/b/a BE Simply Marvelous, LLC
To: (Defendant's name and address) g/g Charles T. Hill, Roginiered Agent ea

80 E Beach Blvd., Unit 7

Gulfport, MS 39507

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: Thomas L. Carpenter, Wise Carter Child & Caraway, P.A.
2510 14th Street, Suite 1125
Gulfport, MS 39501

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ARTHUR JOHNSTON
CLERK OF COURT

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Date: 06/20/2025

\| Signeture of Clerk or Deputy Clerk

Case 1:25-cv-00197-TBM-RPM Document2_ Filed 06/20/25 Page 4of4

AO 440 (Rev. 06/12) Summons ina Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of Mississippi

Matthew C. Mavar and Julie D. Mavar

Plaintiff(s)
Vv

Mississippi Green Oil, LLC d/b/a BE Simply
Marvelous, LLC, Thomas J. Moore, Ill, Charles T.
Hill, Nicholas Quave and John Does 1-5

Civil Action No. = 1:25cv197 TBM-RPM

Ne ee ee et ee ee ee ee ee ee ee

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) me ares tg Unit 7

Gulfport, MS 39507

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Gulfport, MS 39501

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ARTHUR JOHNSTON
CLERK OF COURT

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Signature of Clerk or Deputy Clerk

